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 1                                UNITED STATES DISTRICT COURT
 2                              NORTHERN DISTRICT OF CALIFORNIA
 3                                     SAN FRANCISCO DIVISION
 4

 5   IN RE GOOGLE PLAY STORE                              Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
 6
                                                          [PROPOSED] ORDER GRANTING
 7   THIS DOCUMENT RELATES TO:                            STATES’ MOTION FOR APPROVAL
                                                          OF NOTICE OF PENDENCY AND
 8   State of Utah et al. v. Google LLC et al.,           OPPORTUNITY TO OPT-OUT FOR
     Case No. 3:21-cv-05227-JD                            PARENS PATRIAE CLAIMS
 9
                                                          Judge: Hon. James Donato
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12          Upon consideration of the States’ Motion for Approval of Notice of Pendency and

13   Opportunity to Opt-Out for Parens Patriae Claims, the Court hereby approves the Notice and Opt-

14   Out procedures for the States’ parens patriae claims.
15          IT IS SO ORDERED.
16
            Dated:
17

18                                                By:
                                                        THE HONORABLE JAMES DONATO
19                                                      United States District Judge
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                                              -1-                    Case No. 3:21-md-02981-JD
        [PROPOSED] ORDER RE: NOTICE AND OPT-OUT PROCEDURES FOR THE STATES’ PARENS PATRIAE
                                             CLAIMS
